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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

 TYSHON EDWARDS,                                      :
                                                      :
                                         Plaintiff,   :
                                                      :   Case No. 3:24-cv-06029-ZNQ-JBD
                         v.                           :
                                                      :
 CERTAIN UNDERWRITERS AT                              :
 LLOYD’S, LONDON, SUBSCRIBING TO                      :   CERTIFICATION OF BRIAN H.
 POLICY NO. PK1021612, LLOYD’S                        :   LEINHAUSER IN SUPPORT OF
 SYNDICATE 2987,                                      :   APPLICATION FOR PRO HAC VICE
                                                      :   ADMISSION OF ADRIAN T.
                                       Defendant.     :   ROHRER, ESQUIRE

         I, Brian H. Leinhauser, Esquire, of full age, hereby certify as follows:

         1.     I am a Partner of MacMain Leinhauser PC, counsel for Defendant, Certain

Underwriters of Lloyd’s London, Subscribing to Policy No. PK1021612, Lloyd’s Syndicate 2987

(“Defendant”) in the above-captioned matter. I submit this certification to the Court in support of

Defendant’s application for an Order allowing the pro hac vice admission of Adrian T. Rohrer,

Esquire, pursuant to Local Civil Rule 101.1(c) for purposes of the pending action before the

Court.

         2.     I am a member in good standing of the bar of the State of New Jersey and the

United States District Court for the District of New Jersey, among other federal courts. I or

another attorney at MacMain Leinhauser PC who is a member in good standing of the bar of the

State of New Jersey and he United States District Court for the District of New Jersey will sign

all pleadings, briefs, and other papers filed with the Court on behalf of Defendant in this matter

and will be present for all appearance before the Court unless previously excused from appearing

by the Court, and will comply with Local Civil Rule 101.1(c). I have never been disciplined by
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any Court before whom I have appeared, and I have no disciplinary proceedings pending against

me in any jurisdiction.

       3.      I respectfully submit this certification in support of the Motion of Defendant to

permit Adrian T. Rohrer, Esquire, Partner at BatesCarey, LLP and a member in good standing of

the State of Illinois bar to appear as counsel pro hac vice for all purposes in this action.

       4.      I understand and have informed Mr. Rohrer that, in the event that the Court grants

this application, all notices, orders and pleadings shall be served upon me as local counsel, and I

shall promptly notify counsel of their receipt, and that only an attorney at law of this Court may

file papers, enter appearances for parties, sign stipulations, or sign and receive payments or

judgements, decrees and orders.

       5.      I understand that I will be responsible for the conduct of Mr. Rohrer as counsel

during the pendency of this matter and for their compliance with the Local Civil Rules of the

United States District Court for the District of New Jersey.

       6.      Counsel for the Plaintiff consents to the pro hac vice admission of Adrian T.

Rohrer as counsel for Defendant.

       I hereby certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements made by me are willfully false, I am subject to punishment.



                                                       MacMAIN LEINHAUSER PC


Date: July 24, 2024                            By:     /s/ Brian H. Leinhauser
                                                       Brian H. Leinhauser
                                                       NJ Attorney I.D. No. 038102006
                                                       433 W. Market Street, Suite 200
                                                       West Chester, PA 19382
                                                       Attorney for Defendant
